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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: Hon. Timothy C. Stanceu, Senior Judge

      __________________________________________
                                          :
NUTRICIA NORTH AMERICA, INC.,             :
                                          :
                        Plaintiff,        :      Court No. 16-00008
                                          :
                  v.                      :
                                          :
UNITED STATES,                            :
                                          :
                        Defendant.        :
__________________________________________:

                                    PROPOSED ORDER

       Upon reading Plaintiff, Nutricia North America Inc.’s (Nutricia), Consent Motion to

Designate Nutricia North America v. United States, Court No. 16-00008 as a Test case and

to Suspend Cases, and upon review of all other currently pending Nutricia cases:


       1:15-cv-00160-N/A         Nutricia North America, Inc. v. United States   filed 06/05/15
       1:15-cv-00162-N/A         Nutricia North America, Inc. v. United States   filed 06/12/15
       1:15-cv-00193-N/A         Nutricia North America, Inc. v. United States   filed 07/09/15
       1:15-cv-00209-N/A         Nutricia North America, Inc. v. United States   filed 08/04/15
       1:16-cv-00043-N/A         Nutricia North America, Inc. v. United States   filed 03/11/16
       1:16-cv-00139-N/A         Nutricia North America, Inc. v. United States   filed 07/29/16
       1:16-cv-00174-N/A         Nutricia North America, Inc. v. United States   filed 09/01/16


and upon other papers and proceedings herein, it is hereby


       ORDERED that Motion is granted; and it is further


       ORDERED that these pending Nutricia cases are suspended.



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                                              Senior Judge




Dated:               2021
New York, New York




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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: Hon. Timothy C. Stanceu, Senior Judge

__________________________________________
                                          :
NUTRICIA NORTH AMERICA, INC.,             :
                                          :
                        Plaintiff,        :                    Court No. 16-00008
                                          :
                  v.                      :
                                          :
UNITED STATES,                            :
                                          :
                        Defendant.        :
__________________________________________:

       CONSENT MOTION TO DESIGNATE TEST CASE AND SUSPEND CASES
       Pursuant to Rule 83(f) and (i) of the United States Court of International Trade, Plaintiff,

Nutricia North America, Inc. (Nutricia), by its attorneys, hereby moves that the above-captioned

case be designated a Test Case and that the following cases:


       1:15-cv-00160-N/A          Nutricia North America, Inc. v. United States       filed 06/05/15
       1:15-cv-00162-N/A          Nutricia North America, Inc. v. United States       filed 06/12/15
       1:15-cv-00193-N/A          Nutricia North America, Inc. v. United States       filed 07/09/15
       1:15-cv-00209-N/A          Nutricia North America, Inc. v. United States       filed 08/04/15
       1:16-cv-00043-N/A          Nutricia North America, Inc. v. United States       filed 03/11/16
       1:16-cv-00139-N/A          Nutricia North America, Inc. v. United States       filed 07/29/16
       1:16-cv-00174-N/A          Nutricia North America, Inc. v. United States       filed 09/01/16
be suspended under this test case.
       On October 8, 2021, counsel for Nutricia consulted with counsel for the United States.

 Based upon representations of plaintiff’s counsel as to the basis of the test case, but without

 agreement to all facts stated therein, defendant consents to the test case and suspension motion.




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      Nutricia filed its Complaint is actively prosecuting this case. The cases for which Nutricia

seeks suspension are all entitled Nutricia North America, Inc. v. United States. The test case and

all the cases for which Nutrica seeks suspension involve the tariff classification of imported

infant and junior medical foods. The legal question is whether the products are properly

classified in subheading 3004.50.50, HTSUS, which provides for “Medicaments (excluding

goods of heading 3002, 3005 or 3006) consisting of mixed or unmixed products for therapeutic

or prophylactic uses, put up in measured doses (including those in the form of transdermal

administration systems) or in forms or packings for retail sale: Other medicaments containing

vitamins or other products of heading 2936: Other.” Alternatively, plaintiff claims that the

imported goods are classified pursuant in subheading 9817.00.96, HTSUS, which provides for

“Articles specially designed or adapted for the use or benefit of the blind or other physically or

mentally handicapped persons; parts and accessories (except parts and accessories of braces and

artificial limb prosthetics) that are specially designed or adapted for use in the foregoing

articles: Other.” On October 6, 2014, CBP issued a ruling HQ H121544 classifying the subject

or similar merchandise under Heading 2106, HTSUS.


      Based on the forgoing, and the consent of the United States, Nutricia respectfully requests

that the Court grant this order and designate Ct. No. 16-00008 a test case and suspend the above

listed cases.


                                      Respectfully,

                                      /s Frances Hadfield

                                      John Brew
                                      CROWELL & MORING LLP
  Dated: October 14, 2021             590 Madison Ave, 20th Floor
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                                      (212) 803-4040

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